        Case 5:21-cv-03269-TC-JPO Document 7 Filed 06/15/22 Page 1 of 8




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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

DERON MCCOY II, #76894                               )
                                                     )
                       Plaintiff,                    )
                                                     )       Case No. 21-CV-03269-SAC
               v.                                    )
                                                     )
ARAMARK, et al                                       )
                                                     )
                       Defendants.                   )


                                     MARTINEZ REPORT

       COMES NOW, counsel undersigned for the Kansas Department of Corrections as an

Interested Party (KDOC), and in accordance with the Court’s Order [Doc. #4, filed February 28,

2022] submits the following Martinez Report as an aid to the Court in further screening the merits

of DeRon McCoy, II (Resident McCoy) claims. This report is based upon affidavit testimony, as

well as previous lawsuits brought by the Plaintiff, and official internal facility documentation

available at the time of preparation. KDOC reserves the right to seek leave to supplement this

report in the unlikely event additional evidence is discovered or becomes available

Introduction

       Resident McCoy has filed a pro se complaint pursuant to U.S.C. §1983. He claims a denial

of his right to free exercise and Religious Land Use and Institutionalized Person Act (R.L.U.I.P.A.)

under the First Amendment when the Certified Religious Diet (CRD) was developed and

                                            Page 1 of 8
        Case 5:21-cv-03269-TC-JPO Document 7 Filed 06/15/22 Page 2 of 8




implemented. Count II also claims a violation of Plaintiff’s First Amendment and RLUIPA failing

to supervise preparation and service of CRD meals. Count III alleges violations of Plaintiff’s First

Amendment rights and RLUPIA on the basis that he is served a vegan diet. He seeks compensatory

and punitive damages.


 Summary of Investigation

       A review of the relevant facility documentation, along with interviews of witnesses and

persons knowledgeable about Plaintiff’s claims have been compiled, and now are submitted to the

Court as Exhibits, either attached hereto or filed under seal, and incorporated as if fully set forth

herein. Based upon the foregoing inquiry, the findings and conclusions are rendered below and

cited to each supporting Exhibit.

                                     INDEX OF EXHIBITS

 Exhibit       Description

 A             KASPER (Kansas Adult Supervised Population Electronic Repository)
               Information Sheet
 B             16-CV-3027 Order

 C             16-CV-3027 Memorandum in Support of Motion for Summary Judgment

 D             IMPP 10-110D

 E             IMPP 10-106D

 F             Canteen Print Out

 G             Declaration of Rabbi Ben Friedman

 H             16-3027 Martinez Report

 I             Grievance Response 1/28/2021

 J             Copy of Aramark’s Preparing a Kosher Environment



                                             Page 2 of 8
         Case 5:21-cv-03269-TC-JPO Document 7 Filed 06/15/22 Page 3 of 8




 K              IMPP 10-119D


FINDINGS OF THE KDOC



     1. Deron McCoy, #76894 (McCoy) is a Resident currently in the custody of the Kansas

        Department of Corrections and currently incarcerated at El Dorado Correctional Facility in

        El Dorado, Kansas. He has convictions for Kidnapping, multiple convictions for Criminal

        Possession of a Firearm by a Felon, Aggravated Escape from Custody, four (4) convictions

        for Aggravated Assault on a Law Enforcement Officer, as well as numerous other

        convictions, including felony Possession of Narcotics convictions. He is 39 years old.

        During his KDOC career, he has had 112 Disciplinary Reports. (Exhibit A)


1.      Resident McCoy was committed into the custody of the Kansas Department of Corrections

        (KDOC) on March 6, 2012 (Exhibit A)

2.      Plaintiff is currently housed at EDCF and has been since January 29, 2018. (Exhibit A)

3.      On January 22, 2014, Plaintiff changed his religious preference from Protestant to

        Assembly of Yahweh. (Exhibit H)

4.      On August 25, 2014, Plaintiff changed his religious preference to Judaism. (Exhibit H)

5.      Plaintiff has filed multiple cases regarding the kosher meal offerings available in the

        Kansas Department of Corrections facilities. (Exhibit H)

     6. Aramark is responsible for all aspects of food preparation and service at all KDOC

        facilities, including staffing and supervising food service, including inmate labor.




                                             Page 3 of 8
        Case 5:21-cv-03269-TC-JPO Document 7 Filed 06/15/22 Page 4 of 8




   7. Aramark has policies in place to ensure the CRD is correctly implemented. These policies

       are periodically reviewed and approved by Aramark’s religious authority, Rabbi Fellig.

       (Exhibit J).

   8. The relevant provision as to CRD in the Aramark Contract states: “…[Aramark] shall

       provide other special diets as mutually agreed upon by [Aramark] and the [KDOC] to

       include, but not limited to a certified religious diet and certain standardized medical diets.

       [Aramark] shall be responsible for obtaining review of the certified religious diet by

       appropriate religious advisor to ensure that the diet meets the requirements of a certified

       religious diet as defined by the [KDOC] and shall provide proof of the review to the

       [KDOC].

   9. The KDOC’s procedures relating to religious diets are set out in Internal Management

       Policy and Procedure (IMPP) 10-106D and 10-110D. (Exhibit E) (Exhibit D)

   10. IMPP 10-106 provides that the menus shall be established by a provider under contract

       with the Department to provide food services to inmates within the care and custody of

       the Secretary of Corrections. (Exhibit E)

   11. These menus shall be subject to approval by the Secretary or his designee and reviewed

       every six (6) months, or whenever substantial changes in the menu are made by a

       registered dietician. The menus must meet basic nutritional requirements for all meals

       served, including any alterations, substitutions and modifications for medical, dental,

       mental health, religious purposes and alternative meal service. (Exhibit E)

12. Plaintiff’s complaints have been litigated in his earlier lawsuits. He alleges that the CRDs

   are prepared and stored in a non-Kosher manner.




                                            Page 4 of 8
    Case 5:21-cv-03269-TC-JPO Document 7 Filed 06/15/22 Page 5 of 8




13. Plaintiff requested a Kosher diet. He was informed that only a Certified Religious Diet

   (CRD) is available at EDCF. (Exhibit I) Plaintiff habitually deviates from a Kosher diet

   when making his commissary purchases. On page 5 of Exhibit F, Plaintiff made a

   purchase of Pepe Hot and Spicy Pork Rinds, which are not Kosher. (Exhibit F)




                                       Page 5 of 8
    Case 5:21-cv-03269-TC-JPO Document 7 Filed 06/15/22 Page 6 of 8




14. The following provisions appear on each menu: “Follow all kosher preparation

   instructions in recipes for Entrees, Starches, and Salads. Utensils used for scooping,

   cooking and serving must be dedicated for kosher food use ONLY and stored in a special

   area. Serve meal on disposable or designated kosher tray with disposable or kosher only

   tableware.”

15. All food used in the preparation of the CRD menu is sourced from manufacturers that use

   kosher manufacturing processes and Aramark maintains certificates for these food items

   verifying they are kosher-certified. (Exhibit G)

16. All entrée items used in the CRD arrive at EDCF factory sealed, are portioned out of bulk

   boxes, and are stored on separate shelving units from non-CRD food.

17. All CRD food items have kosher symbols either on the outer bulk packaging, or on the

   individual packaging.

18. The sliced bread and milk do not have Kosher symbols on the individual packaging. Aramark

   maintains certificates verifying they are in fact kosher. Id. The fact that an item served on the

   CRD does not maintain a kosher symbol on the packaging does not mean the food is not

   kosher. (Exhibit C)

19. CRD foods are prepared with their own set of procedures and staff are trained on those

   procedures by Aramark supervisors. (Exhibit C)

20. 84. EDCF utilizes a separate oven for the preparation of warm CRD food, marked with a

   large red sign that reads “kosher only.” (Exhibit C)

21. The stove is cleaned and sanitized prior to being used for the CRD. (Exhibit C)

22. No steam kettles are used in the preparation of CRD food. (Exhibit C)




                                          Page 6 of 8
        Case 5:21-cv-03269-TC-JPO Document 7 Filed 06/15/22 Page 7 of 8




   23. CRD-designated utensils are used for the service of the CRD menu. These utensils are

       engraved with a “K” and are kept in a locked cabinet accessible only by Aramark

       supervisors. Usage of these utensils is noted in the logbook by Aramark supervisors. (Exhibit

       C)

   24. The CRD for general population inmates is plated in a separate area of the kitchen line.

       (Exhibit C)

   25. Cold CRD items are prepared separately on a table wrapped in plastic. (Exhibit C)

   26. Warm CRD items are kept heated in a CRD-designated steam well. (Exhibit C)

   27. CRD meals for inmates in segregation are prepared in the CRD-designated area of the

       kitchen and stacked in a separate area of the food warmer after being wrapped in plastic. The

       CRD meals in the warmer do not touch non-CRD meals. (Exhibit C)

   28. Menu items used in the CRD are stored separately from non-CRD food items. (Exhibit C)

   29. CRD-designated trays, utensils, and pots and pans are washed and stored separately from

       non-CRD items. (Exhibit C)

   30. Defendant Pat Berry was contract manager for KDOC. In that capacity, Ms. Berry reviewed

       each approved menu, monitors contract requirements, prepared and processed contract

       amendments, and conducted food service operation inspections. (Exhibit C)

   31. Ms. Berry was not present for day-to-day food preparation and service at EDCF. None of the

       food service employees at EDCF are KDOC employees. (Exhibit C)


Resident McCoy’s complaints have been heard by this Court previously. The rabbinical approval

of Rabbi Fellig and Rabbi Friedman have been given to the CRD meals.




                                            Page 7 of 8
        Case 5:21-cv-03269-TC-JPO Document 7 Filed 06/15/22 Page 8 of 8




                                                              Respectfully Submitted,

                                                              /s/ Jocilyn B. Oyler
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                                  CERTIFICATE OF SERVICE
        I hereby certify that on the 14th day of June, 2022, I electronically filed the foregoing with
the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing
to the following:
Attorney General’s Office
120 S.W. 10th Ave.
Topeka, Kansas 66612-1597

Natasha Carter
Chief Legal Counsel
Kansas Department of Corrections
714 SW Jackson St., Suite 300
Topeka, Kansas 66603

I hereby certify that a true and correct copy of the foregoing was sent via intra-facility mail on
this 15th day of June 2022 to:

Deron McCoy, 76894
El Dorado Correctional Facility
P.O. Box 311
El Dorado, Kansas 67042




                                                              /s/ Jocilyn B. Oyler
                                                                  Jocilyn B. Oyler



                                             Page 8 of 8
